                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS

 JOHN RAMOS,                §
     Plaintiff              §
                            §
 vs.                        §                                 Case No. 1-24-00035-RP
                            §
 RESURGENT CAPITAL SERVICES §
 LP                         §
     Defendant


              DEFENDANT RESURGENT CAPITAL SERVICES LP’S
                          ORIGINAL ANSWER

       Resurgent Capital Services, LP (Resurgent) answers Plaintiff’s complaint as
follows:

                                 I. INTRODUCTION

1.       This is an action for actual and statutory brought by Plaintiff John Ramos an

individual consumer, against Defendant, Resurgent Capital Services for violations

of the     Fair Debt Collection Practices Act, 15 U.S.C § 1692 et seq. (hereinafter

“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive,

and unfair practices.

         ANSWER: Resurgent admits that Plaintiff makes such claims. It denies that it

violated such statutes and further denies that it has any liability to Plaintiff.

                         II. JURISDICTION AND VENUE

2.        Jurisdiction of this court arises under 15 U.S.C § 1692k(d) 28 U.S.C 13op31.

Venue in this District is proper in that the Defendants transact business in


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Austin, Travis County, Texas, and the conduct complained of occurred in Austin,

Travis County, Texas.

       ANSWER: At this time Resurgent lacks knowledge or information sufficient to

form a belief as to the allegations in this paragraph.

                                    III. PARTIES

3.       Plaintiff John Ramos (hereinafter “Mr. Ramos”) is a natural person

residing in Austin, Travis County, Texas. Mr. Ramos is a consumer as defined by

the Fair Debt Collection Practices Act, 15 U.S.C. §1692a(3).

       ANSWER: At this time Resurgent lacks knowledge or information sufficient to

form a belief as to the allegations in this paragraph.

4.       Upon information and belief, Defendant Resurgent Capital Services is a

South Carolina corporation with its principal place of business located at 55 Beattie

Place Ste 110, Greenville, SC 29601.

         ANSWER: Resurgent admits it is a company existing under the laws of the

State of South Carolina, with its principal place of business in Columbia, South

Carolina.


5.       Defendant Resurgent Capital Services is engaged in the collection of debt

from consumers using the mail and telephone. Defendant regularly attempt to

collect consumers’ debts alleged to be due to another’s.

         ANSWER: Denied.


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                        IV. FACTS OF THE COMPLAINT

6.      Defendant Resurgent Capital Services, (hereinafter referred to as “Debt

Collector”) is a “debt collector” as defined by the FDCPA, 15 U.S.C 1692a(6).

        ANSWER: The allegations of this paragraph contain a legal conclusion to

which no response is required. However, to the extent a response may be required,

Resurgent denies the allegations to the extent they are inconsistent with existing law.


7.      On November 28, 2023, Mr. Ramos received an email from Resurgent Capital

Services, attempting to collect a debt in the amount of $461.19 allegedly owed to Credit

One Bank, N.A.

        ANSWER: Resurgent lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph; therefore, Resurgent denies

them.


8.      On November 28, 2023, Mr. Ramos sent an email back “I refuse to pay the

debt. At 10:15am “Pursuant to 15 U.S.C 1692c(c).

        ANSWER: Admit Mr. Ramos sent an email on November 28, 2023 stating “I

refuse to pay the debt”. The remaining allegations are denied.


9.      Despite receiving Plaintiffs notice, Defendant continued its attempts to

contact Plaintiff via email on December 1, 2023, at 9:39 am in violation of 15 U.S.C.

§ 1692c(c).




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         ANSWER: Resurgent lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph; therefore, Resurgent denies

them.


10.      On December 1, 2023, Mr. Ramos received an SMS aka Text message from

Defendant at 7:33 pm.

Welcome! You’ll receive msgs from Resurgent Debt Collector. msgs varies by acct/pref
Msg&DataRatesMayApply          STOP      to    optout       HELP        for    info.
T&C’s:m.reca.com/terms

which was in violation of 15 U.S.C. § 1692c(c).

        ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

11.      On December 3, 2023, Mr. Ramos received an email from Resurgent Capital

Services at 12:03pm attempting to collect a debt in violation of 15 U.S.C. § 1692c(c).

         ANSWER: Resurgent lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph; therefore, Resurgent denies

them.

12.      On December 5, 2023, Mr. Ramos received an email from Resurgent Capital

Services at 9:45am attempting to collect a debt in violation of 15 U.S.C. § 1692c(c).

        ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

13.      On December 5, 2023, Mr. Ramos received a voicemail from defendant at


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3:04pm, Message said,

“This message is from resurgent capital services a debt collection company we recently sent
you a message regarding your account but haven’t received payment we understand that life
can get busy and we want to maim sure you understand all your payment options we offer
various online services to assist you such as viewing your account information and customizing
payment plans to our website at https://// www.resurgent.com if you prefer to speak with a
member of our customer care team simply give us a call at 866-559-6648 we look forward to
hearing from you this is an attempt to collect a debt and any information obtained will be used
for that purpose.

Which was in violation of 15 U.S.C. § 1692c(c).

        ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

14.      On December 7, 2023, Mr. Ramos received an email from Resurgent Capital

Services at 12:20pm attempting to collect a debt in violation of 15 U.S.C. § 1692c(c).

         ANSWER: Resurgent lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph; therefore, Resurgent denies

them.


15.      On December 7, 2023, Mr. Ramos received an SMS aka Text message

from Defendant at 5:04 pm.

Resurgent Debt Collector:
John, you could miss out on potential discounts! Revisit the Resurgent Portal at
m.recap.com/prAzrglhK1Y
Reply STOP to optout

which was in violation of 15 U.S.C. § 1692c(c).

        ANSWER: Resurgent lacks knowledge or information sufficient to form a belief


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as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

16.      On December 9, 2023, Mr. Ramos received an email from Resurgent

Capital Services at 1:58pm attempting to collect a debt in violation of 15 U.S.C. §

1692c(c).

       ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

17.      On or about December 9, 2023. Plaintiff received a letter via US MAIL

dated November 28, 2023 and Defendant attempted to collect the alleged debt.

Which is a violation of 15 U.S.C § 1692c(c).

       ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

18.      On December 11, 2023, Mr. Ramos received an email from Resurgent

Capital Services at 2:57pm attempting to collect a debt in violation of 15 U.S.C. §

1692c(c).

       ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

19.      On December 12, 2023, Mr. Ramos received a voicemail from defendant at

2:34pm, Message said,

This is resurgent capital services a debt collection company we wanted to
touch base again regarding your account with us we haven't received
payment from you vet and we understand that life can be busy we're here to
help you find a solution that works for you please contact our customer care
team at 866-559·6648 or visit https://www.resurgent.com we would love the

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opportunity to help you reach financial freedom and hope to hear from you
soon this is an attempt to collect a debt and any information obtained will be
used for that purpose..

Which was in violation of 15 U.S.C. § 1692c(c).

        ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

20.      On December 12, 2023, Mr. Ramos received an SMS aka Text message from

Defendant at 4:41pm.

Resurgent Debt Collector:
Come back to the
Resurgent Portal and see special offers for your acct ending in 8751.
m.rcap.com/219080DTM7b
To optout reply STOP

which was in violation of 15 U.S.C. § 1692c(c).

        ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

21.      On December 13, 2023, Mr. Ramos received an email from Resurgent

Capital Services at 9:54am attempting to collect a debt in violation of 15 U.S.C. §

1692c(c).

         ANSWER: Resurgent lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph; therefore, Resurgent denies

them.


22.      On December 14, 2023, Mr. Ramos received an SMS aka Text message


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from Defendant at 5=44pm.

Resurgent Debt Collector: John, you've got options for your account
ending in 8751. Come back to m.rcap.com/8YYWpvgH0O2 To optout
reply STOP

which was in violation of 15 US. C. § 1692c(c).

        ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

23.      On December 18, 2023, Mr. Ramos received an email from Resurgent Capital

Services at 10:19am attempting to collect a debt in violation of 15 U.S.C. § 1692c(c).

         ANSWER: Resurgent lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph; therefore, Resurgent denies

them.


24.      On December 20, 2023, Mr. Ramos received an SMS aka Text message from

Defendant at 7:00pm.

Resurgent Debt Collector: Looking for flexible pmt options? We
have create-your-own plans now on our online portal
m.rcap.com/NWWm Y12FnGr To optout reply STOP

which was in violation of 15 U.S.C. § 1692c(c).

        ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

25.      On December 28, 2023, Mr. Ramos received an SMS aka Text message

from Defendant at 12:10pm.


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Resurgent Debt Collector: Save $41.51 on account 8751 with 1 payment of $419.68 at

m.rcap.com/3e YewkbuMVV Offers subject to change. Reply STOP to opt out which was in

violation of 15 U.S.C. § 1692c(c).

       ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

26.      On January 3, 2024, Mr. Ramos received an SMS aka Text message from

Defendant at 11:s5am.

Resurgent Debt Collector: Resolve your account in 12 payments and
save $36.90. Start at m.rcap.com/NWlpdpKcYP5 Offers subject to
change. Reply STOP to opt out

which was in violation of 15 U.S.C. § 1692c(c).

       ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

27.      On January 5, 2024, Mr. Ramos received an SMS aka Text message from

Defendant at 12:10pm.

Resurgent Debt Collector: Save $41.51 on your $461.19 acct with this
offer. Start at m.rcap.com/6690xdpcpAK Offers subject to change. Reply
STOP to opt out

Which was in violation of 15 U.S.C. § 1692c(c).

       ANSWER: Resurgent lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in this paragraph; therefore, Resurgent denies them.

28.      Plaintiff has suffered actual damages as a result of these illegal collection

tactics by this Defendant in the form of invasion of privacy, intrusion upon

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seclusion, disturbing plaintiff peace, personal embarrassment, loss of productive

time, emotional distress, frustration, anger, anxiety, decreased ability to focus on

task while at work, humiliation and amongst other negative emotions.

      ANSWER: Denied.

                         V. FIRST CLAIM FOR RELIEF
                            (Resurgent Capital Services)
                                15 U.S.C. §1692c(c)

29.     Mr. Ramos re-alleges and reincorporates all previous paragraphs as if fully

set out herein.

        ANSWER: Resurgent repeats and realleges the foregoing paragraphs as if

fully restated herein.


30.     The Debt Collector violated the FDCPA.

ANSWER: Denied.

31.     The Debt Collector’s violations include, but are not limited to, the following:

The Debt Collector violated 15 U.S.C § 1692c(c) and Regulation F § 1006.14(h)(l)

by communicating with the Plaintiff at a place Defendant knew or should have

known was no longer convenient.

ANSWER: Denied.

32.      As a result of the above violations of the FDCPA, the Defendants are liable

to the Mr. Ramos actual damages, statutory damages and cost.

ANSWER: Denied.


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                   VI. JURY DEMAND AND PRAYER FOR RELIEF

WHEREFORE, Plaintiff Mr. Ramos respectfully demands a jury trial and requests

that judgment be entered in favor of Plaintiff and against the Debt Collector for:

a.       Judgment for the violations occurred for violating the FDCPA;

b.       Actual damages pursuant to 15 U.S.C 1692k(1)(2);

c.       Statutory damages pursuant to 15 U.S.C 1692k(2);

d.       Cost and reasonable attorney’s fees pursuant to 15 U.S.C 1692k(3);

e.       For such other and further relief as the Court may deem just and proper.

ANSWER: Resurgent denies that Plaintiff is entitled to any such relief.

               AFFIRMATIVE DEFENSES AND OTHER DEFENSES


Defendant Resurgent alleges the following additional and affirmative defenses:

1.     Resurgent asserts that Plaintiff is not entitled to recover attorneys’ fees as he is not

a licensed attorney.

2.     Resurgent asserts the defense of setoff. Plaintiff is indebted to it on the account

referenced in his complaint. That account balance, and any associated interest, fees or

costs—whether originally sought to be collected or not—should be set off against any

recovery that Plaintiff might obtain in this action. Where two opposing claims arise out of

separate transactions between the same parties, “setoff” is the equitable right of one party

to offset his debt by the amount of its claim against the other party. “The right of setoff

(also called offset) allows entities that owe each other money to apply their mutual debts


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against each other, thereby avoiding ‘the absurdity of making A pay B when B owes A.’”

Citizens Bank of Maryland v. Strumpf, 516 U.S. 16, 18 (1995), quoting Studley v. Boylston

Nat’l Bank, 229 U.S. 523, 528 (1913).

3.     Resurgent denies that Plaintiff is entitled to or should recover statutory damages in

any amount. See Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573

(2010).

4.     Resurgent pleads that if Plaintiff does have any actual damages, such damagers are

subject to the defense of failure to mitigate.

5.     Resurgent denies it is a debt collector as defined by the Fair Debt Collection

Practices Act and demands strict proof thereof.

6.     Resurgent denies the Plaintiff has suffered any damages as a result of any act, error,

or omission of this Defendant.

7.     Resurgent asserts that an award of statutory damages in the absence of actual

damages would exceed the limits of Constitutional due process. See, e.g., State Farm Mut.

Auto. Ins. Co. v. Campbell, 538 U.S. 408 (2003) and BMW of N. Am. v. Gore, 517 U.S. 559

(1996).

8.     Since Plaintiff has not suffered any actual damages, his individual recovery (to the

extent he is entitled to such recovery, which Resurgent denies) is limited to statutory

damages only and is capped at $1,000.00 per action under the FDCPA.




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                                  ATTORNEYS’ FEES


9.     There is no basis in fact or law for the filing of Plaintiff’s claims, and Defendant

asserts that such claims have been brought in bad faith and for the purpose of harassment.

Defendant is entitled to recover its reasonable attorneys’ fees and costs.

       WHEREFORE, PREMISES CONSIDERED, Defendant Resurgent Capital

Services, LP prays that Plaintiff take nothing in this action. Defendant Resurgent Capital

Services further prays for all such other and further relief, at law or in equity, to which it

may be justly entitled.


       Dated: August 23, 2024


                                           Respectfully submitted,


                                           /s/ Francesca A. Di Troia
                                           Francesca A. Di Troia
                                           State Bar No. 24097596
                                           S.D. Tex. No. 3278381
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                                           ATTORNEY    FOR     DEFENDANT
                                           RESURGENT CAPITAL SERVICES, LP




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                           CERTIFICATE OF SERVICE
      By my signature below, I hereby certify that on August 23, 2024 a true and correct
copy of the foregoing document was served on the parties listed below via electronic
transmission.

John Ramos
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